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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


JEREMY ZIELINSKI, TRAVIS HUDSON,
BRUCE MOSES, OSCAR NUNEZ, JEAN MARC
DESMARAT, and DAVID HAIGH, on behalf of
themselves and all others similarly situated,

       Plaintiffs,                                              9:24-cv-450 (GTS/CFH)
                                                           No. __________________

       v.

NEW YORK DEPARTMENT OF CORRECTIONS                         SUMMONS
AND COMMUNITY SUPERVISION (DOCCS);
DOCCS ACTING COMMISSIONER DANIEL F.
MARTUSCELLO III, in his official capacity;
DOCCS SUPERINTENDENT DAVID HOWARD,
in his official capacity; and DEPUTY
SUPERINTENDENT       FOR      PROGRAM
SERVICES DANIELLE GLEBOCKI, in her official
capacity,

       Defendants.

To:    New York Department of Corrections and Community Supervision (DOCCS)

       Daniel F. Martuscello, III, Acting Commission of DOCCS

       David Howard, DOCCS Superintendent

       Danielle Glebocki, Deputy Superintendent for Program Services
               A lawsuit has been filed against you.
                Within 21 days after service of this summons on you (not counting the day you
received it) — or 60 days if you are the United States or a United States agency, or an officer or
employee of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on
the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules
of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
              Christopher McArdle, Esq.
              Sharon Steinerman, Esq.
              Madeline Byrd, Esq.
              Alston & Bird LLP
              90 Park Avenue
              New York, New York 10016
              If you fail to respond, judgment by default will be entered against you for the
relief demanded in the complaint. You also must file your answer or motion with the court.
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                                      CLERK OF COURT



Date:    3/29/24
                                            Signature of Clerk or Deputy Clerk




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